                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE

 THE TACTICAL EDGE, LLC

          Plaintiff,
 v.                                                         Civil No:
 MERRICK B. GARLAND, Attorney Gen-
 eral of the United States;
 UNITED STATES DEPARTMENT OF
 JUSTICE; and
 THE BUREAU OF ALCOHOL,
 TOBACCO, FIREARMS AND EXPLO-
 SIVES
          Defendants.

                                           COMPLAINT

         Plaintiff, The Tactical Edge, LLC, (“Tactical Edge”) files this complaint against Defendants

Merrick B. Garland, in his capacity as the Attorney General of the United States of America, the

United States Department of Justice and the Bureau of Alcohol, Tobacco, Firearms and Explosives,

(collectively "the ATF”) for relief and damages. Tactical Edge seeks a de novo judicial review

pursuant to 18 U.S.C. § 923(f)(3) of the ATF’s revocation of Tactical Edge’s federal firearms

licenses. In addition, Tactical Edge also seeks declaratory relief concerning the application and

constitutionally of 18 U.S.C. § 921, et seq., and regulations promulgated pursuant thereto in light

of the United States Supreme Court’s decision in New York State Rifle & Pistol Association v. Bruen,

142 S.Ct. 2111 (2022).



                                             Jurisdiction

         1. Tactical Edge brings this complaint pursuant to 18 U.S.C. § 923(f)(3) for de novo judicial


                                                  1

      Case 3:23-cv-00544       Document 1        Filed 05/26/23      Page 1 of 58 PageID #: 1
review of the ATF’s final notice of revocation of its federal firearms licenses.

        2. This Court also has jurisdiction pursuant to 28 U.S.C. § 1331 (federal question

jurisdiction) because this action arises under the United States Constitution since this suit constitutes

a civil action against an executive department of the United States. 28 U.S.C. § 1346(a)(2).

        3. This Court has the authority to grant declaratory relief under 28 U.S.C. § 2201 and

preliminary and permanent injunctive relief under 28 U.S.C. § 2202.

        4. Venue is proper in this district pursuant to 18 U.S.C. § 923(f) since the Plaintiff's principal

place of business is in this judicial district.

        5. To the extent declaratory relief is sought, venue is proper within this judicial district

pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events or omissions asserted by

the Plaintiff arose within this judicial district.



                                                  Parties

        6. Tactical Edge is a Tennessee limited liability company having one of its principal places

of business located at 1925 Fort Campbell Boulevard, Unit C, Clarksville, Tennessee 37042.

        7. Defendants are Merrick B. Garland, in his capacity as the Attorney General of United

States of America, the United States Department of Justice, and the Bureau of Alcohol, Tobacco,

Firearms and Explosives.



                                         Factual Background

Congress Enacted the Gun Control Act in 1968.

        8. Congress enacted the Gun Control Act in 1968. 18 U.S.C. § 921 et seq. (hereinafter the



                                                      2

    Case 3:23-cv-00544          Document 1           Filed 05/26/23    Page 2 of 58 PageID #: 2
“GCA”).

       9. In the GCA, Congress established a comprehensive scheme for licensing federal firearms

licensees (“FFL” or “FFLs”) with the intent to license and otherwise regulate the activities of FFLs.

Included within statutory provisions are express standards relative to inspecting FFLs and revoking

a federal firearms license.

       10. In the GCA, Congress expressly authorized the Attorney General with the statutory

authority to revoke a FFL if certain conditions are met. 18 U.S.C. § 923(e) provides in relevant part:

       (e)The Attorney General may, after notice and opportunity for hearing, revoke any
       license issued under this section if the holder of such license has willfully violated
       any provision of this chapter or any rule or regulation prescribed by the Attorney
       General under this chapter or fails to have secure gun storage or safety devices
       available at any place in which firearms are sold under the license to persons who are
       not licensees ....

       11. Congress did not define the term “willfully” as used in 18 U.S.C. § 923(e).

       12. In the GCA, Congress imposed significant record keeping requirements on FFLs. See

Fairmont Cash Mgmt., LLC v. James, 858 F.3d 356, 362 (5th Cir. 2017).

       13. In the GCA, Congress imposed significant burdens on FFLs.

       14. In the GCA, Congress requires FFLs to keep records of their sales through a federally

promulgated firearms transaction record, which record is commonly referred to as an ATF Form

4473. 18 U.S.C. § 923(g); 27 C.F.R. § 478.124.

       15. In the GCA, Congress requires FFLs to contact the national instant check system

(“NICS”), or in a “point of contact state” such as Tennessee, the state’s designated instant check

entity which is the Tennessee Bureau of Investigation which operates a system known as the

Tennessee Instant Check System (“TICS”). 18 U.S.C. § 922(t).




                                                  3

   Case 3:23-cv-00544         Document 1        Filed 05/26/23      Page 3 of 58 PageID #: 3
ATF’s Regulatory Activities.

        16. ATF first published a Form 4473 in December 1968. Exhibit 1. That form required a

FFL to collect or record approximately 24 pieces of information with respect to each such

transferee/buyer.

        17. By the time it promulgated its May 2020 version of ATF Form 4473, the ATF had

increased the number of pieces of information that a FFL was required to verify or complete on the

Form 4473 to over 100 distinct fields of information. Exhibit 2.

        18. Under current requirements of the GCA and the ATF’s regulations, a FFL operating in

Tennessee is required in most instances to perform a background check when a transfer of a firearm

would be made to an unlicensed individual and to record certain information on the Form 4473 based

on that background check. In Tennessee, a FFL must contact the Tennessee Bureau of Investigation

to perform a background check using TICS. See 18 U.S.C. § 922(t), Tennessee Code Annotated §

39-17-1316.

        19. In the regulations adopted by the ATF, the ATF has imposed significant record keeping

requirements on FFLs.

        20. In the regulations adopted by the ATF, the ATF has imposed significant burdens on

FFLs.

        21. The ATF inspects FFLs for compliance with the GCA.

        22. The ATF inspects FFLs for compliance with the regulations that the ATF has adopted

relative to the GCA.

        23. Generally, the ATF conducts compliance inspections less than once per year. See 18

U.S.C. § 923(g)(1)(B).



                                                4

   Case 3:23-cv-00544        Document 1       Filed 05/26/23       Page 4 of 58 PageID #: 4
         24. ATF publicly claimed that its enforcement policy, at least prior to President Biden’s June

2021 “zero tolerance” policy, infra, was to assist FFLs with their business practices. Further, ATF

publicly claimed that the ATF’s FFL inspections were designed to improve compliance by FFL’s and

that the ATF worked to “guide” FFLs into correction of errors and “ensure future compliance.” ATF

described its license review policies by stating that “on rare occasions” it seeks revocations when

FFLs “demonstrate[s] a lack of commitment to improving his or her business practices”. In its

published “Fact Sheet” dated May 20141, (the “May 2014 Fact Sheet”) the ATF states as follows:

         ATF industry operations investigators (IOI) conduct inspections of FFLs to ensure
         compliance with the law and regulations and to educate licensees on the specific
         requirements of those laws and regulations. IOIs assist with business practices
         designed to improve compliance with the GCA. If violations are discovered
         during the course of an FFL inspection, the tools that ATF has available to
         guide the FFL into correction of such violations and to ensure future compliance
         include issuing a Report of Violations, sending a warning letter, and holding a
         warning conference with the industry member. Despite these actions, on rare
         occasions ATF encounters a licensee who fails to comply with the laws and
         regulations and demonstrates a lack of commitment to improving his or her
         business practices. In such cases where willfulness is demonstrated, ATF’s
         obligation to protect public safety may require revocation of the FFL.

Exhibit 3 (emphasis added).

         25. The ATF represents to FFLs and to the public that ATF’s compliance inspections are

intended to improve compliance, that the inspections are directed to aiding the FFL with record

keeping and compliance, that it does not seek revocation for paperwork errors but that instead the

ATF seeks to aid FFLs in correcting such errors.

         26. By October 2017, ATF published policies and procedures establishing standards and

procedures that ATF Industry Operations Inspectors (“IOIs” or individually an “IOI”) were to use



         1
            The 2014 fact sheet remains current on the ATF’s public web site: https://www.atf.gov/file/11136/download
(last visited May 24, 2023)

                                                         5

    Case 3:23-cv-00544             Document 1          Filed 05/26/23          Page 5 of 58 PageID #: 5
in performing compliance inspections of FFLs. ATF published those policies and procedures in its

Industry Operations Manual dated October 2017. Exhibit 4.

       27. ATF has published “orders” setting forth the ATF’s standards and policies regarding

when and why it takes adverse action, including license revocations, against FFLs whom the ATF

has determined had one or more violations of the GCA or the ATF’s regulations. Those policies and

orders date back to as early as April 14, 1988. See, ATF B 5370.1 dated May 8, 2003. Exhibit 5.

       28. For purposes of the facts involved in this proceeding, ATF had developed written

policies and procedures regarding when it would take adverse action against a FFL as a result of a

compliance inspection and what the appropriate range of adverse actions should be. These policies

are set forth in a document titled “Federal Firearms Administrative Action Policy and Procedures”

dated February 21, 2017, and identified by ATF Order ATF O 5370.1C (hereinafter after the “ATF’s

2017 Adverse Action Policy”). Exhibit 6.

       29. ATF did not release the 2017 Adverse Action Policy to the public or to FFLs during the

time that it was in force. As a consequence of that concealment, the standards on which ATF

evaluated FFL’s during compliance inspections and how ATF determined what adverse action it

would take against FFLs who had violations, including whether to revoke a FFL’s license, were

policies and standards that were concealed by ATF and which were not generally communicated by

ATF to the public or to FFLs.

       30. The policies and standards that ATF included in its ATF’s 2017 Adverse Action Policy,

particularly those which address when adverse action should be imposed against a FFL, including

license revocation, were not imposed by Congress in any statutory enactment.

       31. The stated purpose of the ATF’s 2017 Adverse Action Policy is “[t]his order provides



                                                6

   Case 3:23-cv-00544           Document 1    Filed 05/26/23      Page 6 of 58 PageID #: 6
fair and consistent guidelines for administrative remedies for violations disclosed relative to

inspections of Federal firearm licensees(FFLs).”

       32. The ATF’s 2017 Adverse Action Policy states in Section 4.c. that its authority to revoke

a FFL is based on 18 U.S.C. § 923(e). ATF’s description of that authority as set forth in the 2017

Adverse Action Policy states:

       Pursuant to 18 U.S.C. 923(e), ATF may only revoke a Federal firearms license for
       willful violations of the GCA and its implementing regulations. The term willfulness
       means a purposeful disregard of, a plain indifference to, or reckless disregard of a
       known legal obligation. ATF may also revoke or suspend a license, or impose a civil
       fine for certain knowing violations of the Brady Handgun Violence Act and the Child
       Safety Lock Act of 2005. ATF may revoke for any willful violation of the GCA
       including all of the violations discussed in this order and any other violation of the
       GCA.

       33. Thus, as of the ATF’s 2017 Adverse Action Policy, ATF was instructing its IOIs and

decision making officials that the term “willful” included a “purposeful” disregard of, a “plain

indifference” to, or “reckless disregard” of a “known legal obligation.”

       34. ATF’s definition of the term “willful” or “willfulness” as contained in its 2017 Adverse

Action Policy was not enacted by and has not been adopted by Congress as a statutory definition for

that term.

       35. While any violation of the GCA might give rise to a notice of violation, or even an

administrative warning, license revocations require a higher burden on the ATF to prove that the

violation was “willful” because of the statutory limits on ATF’s authority imposed by Congress in

18 U.S.C. § 923(e).

       36. The ATF’s 2017 Adverse Action Policy states that each circumstance is unique and

mitigating factors may be considered. Section 6.a.3. of the policy states:

       (3) Each inspection has unique and sometimes complex circumstances. Therefore,


                                                 7

   Case 3:23-cv-00544           Document 1     Filed 05/26/23      Page 7 of 58 PageID #: 7
       even in cases where violations appear willful, the field should consider the following
       questions when recommending administrative action:
               (a) Is the FFL willing/able to achieve and maintain voluntary
               compliance?
               (b) Will the continued operation of the FFL pose a threat to public
               safety or contribute to violent crime and other criminal activities?
               (c) Is the FFL taking responsibility for violations and willing to work
               with ATF to correct them?
               (d) Does the FFL understand the importance of firearms traceability
               and GCA records in protecting the public and reducing violent crime?
               (e) Do violations have a nexus to persons prohibited from possessing
               firearms?

       37. As stated in the 2017 Adverse Action Policy, the ATF has established as part of its

adverse action policies one or more subjective factors that it considers in evaluating willfulness.

       38. As stated in the 2017 Adverse Action Policy, the ATF has established as part of its

adverse action policies one or more subjective factors to be considered in evaluating whether the

ATF will pursue the revocation of a FFL.

       39. As stated in the 2017 Adverse Action Policy, ATF officials may consider when

evaluating whether to issue a warning letter the nature and number of violations, improvements in

business operations, improvements in record keeping, etc., since the last inspection. The policy also

states that a warning letter does not require a finding of willfulness with respect to the cause of the

violations. The policy states in Section 6.c.:

       c. Warning Letter. The field may issue a Warning Letter when violations of 27
       C.F.R., Part 478; require a formal documented action on the part of ATF beyond the
       Report of Violations. The area supervisor may decide that a warning letter is not
       necessary based on the nature and number of violations, improvement in business
       operations, record keeping, etc., since the previous inspection, FFL's compliance
       history, time elapsed since previous inspection and other relevant factors may be
       considered. Sending a Warning Letter to a FFL does not require a determination of
       willfulness. Violations that generally merit a Warning Letter as the minimum
       administrative action include—but are not limited to—the following:
               ***



                                                  8

   Case 3:23-cv-00544          Document 1        Filed 05/26/23      Page 8 of 58 PageID #: 8
        40. The 2017 Adverse Action Policy with respect to the “minimum” numbers and types of

violations that may warrant a warning letter makes clear that ATF considers certain categories of

errors below certain threshold percentages or numbers of incidents to be violations that likely do not

warrant even a warning letter. For example, the policy provides in Section 6.c. specific threshold

percentages for the quantity of errors in acquisition records to be “5 percent or more of the licensees

total acquisitions during inspection period.” Similar thresholds that would likely not warrant

imposition of adverse actions are stated for other categories of errors, such as:

        (1) Failure to timely and/or correctly maintain records of receipt, manufacture,
        importation or other acquisition on 5 percent or more of the licensee’s total
        acquisitions during the inspection period, with a minimum of 10 instances.
        (2) Failure to timely and/or correctly maintain records of sales or other dispositions
        on 5 percent or more of the licensee’s total dispositions during the inspection period,
        with a minimum of 10 instances.
        (3) Failure by the licensee to obtain complete and accurate information for any
        item(s) on Forms 4473, questions 11 and 12, or the buyer fails to sign and date the
        Form 4473 in Section A on 5 percent or more of the Forms 4473 examined except
        when any purchaser is prohibited - refer to subparagraph 6.e.(3).
        (4) Failure to record valid and complete transferee identification (ID) on 10 percent
        or more of the Forms 4473 examined.
        (5) Failure to record any transferee ID on 10 percent or more of the Forms 4473
        examined.
        ***

        41. Under the ATF’s 2017 Adverse Action Policy, as indicated in Section 6.c., a significant

number of errors or violations, e.g., less than 5 percent in certain areas, could exist in a FFL’s records

and yet no adverse action against the FFL by ATF would be required or appropriate.

        42. Under the ATF’s 2017 Adverse Action Policy, a determination of willfulness is not

required as a condition precedent to ATF issuing a Report of Violations, a Warning Letter or

requiring the FFL to attend a Warning Conference.

        43. ATF updated its Industry Operations Manual in October 2019. Exhibit 7.



                                                    9

   Case 3:23-cv-00544           Document 1        Filed 05/26/23       Page 9 of 58 PageID #: 9
       44. The October 2019 Industry Operations Manual remained the most current version of that

document at least through March 29, 2023.

       45. By October 2, 2019, ATF amended its written policies and procedures regarding when

to take adverse action against a FFL as a result of a compliance inspection and what the appropriate

range of adverse actions could be. These policies are set forth in a document titled “Federal Firearms

Administrative Action Policy and Procedures” dated October 2, 2019, and identified by ATF Order

ATF O 5370.1D (hereinafter the “2019 Adverse Action Policy”). Exhibit 8.

       46. ATF did not generally release the 2019 Adverse Action Policy to the public or to FFLs

during the time that it was in force. As a consequence the standards on which ATF evaluated FFL’s

during compliance inspections and how ATF determined when and what adverse action it would take

against FFLs who had violations, including whether to revoke a FFL’s license, were standards that

were concealed by ATF and which were not communicated by ATF to the public or to FFLs.

       47. The policies and standards that ATF included in its ATF's 2019 Adverse Action Policy,

particularly those which address when adverse action should be directed against a FFL, including

license revocation, were not imposed by Congress in any statutory enactment.

       48. The stated purpose of the ATF’s 2019 Adverse Action Policy is “[t]his order provides

fair and consistent guidelines for administrative remedies for violations disclosed relative to

inspections of Federal firearm licensees(FFLs).”

       49. The ATF’s 2019 Adverse Action Policy states in Section 5.c. that its authority to revoke

a FFL is based on 18 U.S.C. § 923(e). ATF’s description of that authority as set forth in the 2019

Adverse Action Policy states:

       Pursuant to 18 U S.C. 923(e), ATF may only revoke a Federal firearms license for
       willful violations of the GCA and its implementing regulations. The term willfulness


                                                 10

  Case 3:23-cv-00544         Document 1        Filed 05/26/23      Page 10 of 58 PageID #: 10
       means a purposeful disregard of, a plain indifference to or reckless disregard of a
       known legal obligation. ATF may also revoke or suspend a license or impose a civil
       fine for certain violations of the Brady Handgun Violence Act and the Child Safety
       Lock Act of 2005. ATF may revoke for any willful violation of the GCA including
       all of the violations discussed in this order and any other violation of the GCA.

       50. Thus, as of the ATF’s 2019 Adverse Action Policy, ATF was instructing its IOIs and

decision making officials that the term “willful” required proof of a “purposeful” disregard of, a

“plain indifference” to, or “reckless disregard” of a “known legal obligation.” While any violation

of the GCA might give rise to a notice of violation, or even a warning, revocations required a higher

burden of proving that the violation was “willful” because of the statutory limit on its authority

imposed by Congress in 18 U.S.C. § 923(e).

       51. ATF’s definition of the term “willful” or “willfulness” as contained in its 2019 Adverse

Action Policy was not enacted by and has not been adopted by Congress as a statutory definition for

that term.

       52. While any violation of the GCA might give rise to a notice of violation, or even an

administrative warning under the 2019 Adverse Action Policy, license revocations require a higher

burden on the ATF to prove that the violation was “willful” because of the statutory limit on ATF’s

authority imposed by Congress in 18 U.S.C. § 923(e).

       53. The ATF’s 2019 Adverse Action Policy states that each circumstance is unique and

mitigating factors may be considered. Section 6.a.3. of the policy states:

       (3) Each inspection has unique and sometimes complex circumstances. Therefore,
       even in cases where violations appear willful, the field should consider the following
       questions when recommending administrative action:
               (a) Is the FFL willing/able to achieve and maintain voluntary
               compliance?
               (b) Will the continued operation of the FFL pose a threat to public
               safety or contribute to violent crime and other criminal activities?
               (c) Is the FFL taking responsibility for violations and willing to work


                                                 11

  Case 3:23-cv-00544         Document 1       Filed 05/26/23      Page 11 of 58 PageID #: 11
               with ATF to correct them?
               (d) Does the FFL understand the importance of firearms traceability
               and GCA records in protecting the public and reducing violent crime?
               (e) Do violations have a nexus to persons prohibited from possessing
               firearms?

       54. As stated in the 2019 Adverse Action Policy, the ATF has established as part of its

adverse action policies one or more subjective factors to be considered in evaluating willfulness.

       55. As stated in the 2019 Adverse Action Policy, the ATF has established as part of its

adverse action policies one or more subjective factors to be considered in evaluating whether the

ATF will pursue a revocation of an FFL.

       56.   The 2019 Adverse Action Policy states that ATF officials may consider when

considering whether to issue a warning letter the nature and number of violations, improvements in

business operations, improvements in record keeping, etc., since the last inspection. The policy also

states that a warning letter does not require a finding of willfulness with respect to the cause of the

violations. The policy states in Section 6.c.:

       c. Warning Letter. The field may issue a Warning Letter when violations of 27
       C.F.R., Part 478; require a formal documented action on the part of ATF beyond the
       Report of Violations. The area supervisor may decide that a warning letter is not
       necessary based on the nature and number of violations, improvement in business
       operations, record keeping, etc., since the previous inspection, FFL's compliance
       history, time elapsed since previous inspection and other relevant factors may be
       considered. Sending a Warning Letter to a FFL does not require a determination of
       willfulness. Violations that generally merit a Warning Letter as the minimum
       administrative action include—but are not limited to—the following:
               ***

       57. The 2019 Adverse Action Policy with respect to the “minimum” numbers and types of

violations that may warrant a warning letter makes clear that ATF considers certain categories of

errors below certain threshold percentages to be violations that likely do not warrant even a warning

letter. For example, the policy provides in Section 6.c. specific threshold percentages, which are


                                                   12

  Case 3:23-cv-00544         Document 1          Filed 05/26/23     Page 12 of 58 PageID #: 12
relevant to the 2020 inspection, for the quantity of errors in acquisition records to be “5 percent or

more of the licensees total acquisitions during inspection period.” Similar thresholds that would

likely not warrant imposition of adverse actions also are stated for other categories of errors, such

as:

        (1) Failure to timely and/or correctly maintain records of receipt, manufacture,
        importation or other acquisition on 5 percent or more of the licensee’s total
        acquisitions during the inspection period, with a minimum of 10 instances.
        (2) Failure to timely and/or correctly maintain records of sales or other dispositions
        on 5 percent or more of the licensee’s total dispositions during the inspection period,
        with a minimum of 10 instances.
        (3) Failure by the licensee to obtain complete and accurate information for any
        item(s) on Forms 4473, questions 11 and 12, or the buyer fails to sign and date the
        Form 4473 in Section A on 5 percent or more of the Forms 4473 examined except
        when any purchaser is prohibited - refer to subparagraph 6.e.(3).
        (4) Failure to record valid and complete transferee identification (ID) on 10 percent
        or more of the Forms 4473 examined.
        (5) Failure to record any transferee ID on 10 percent or more of the Forms 4473
        examined.
        ***

        58. Under the ATF’s 2019 Adverse Action Policy, as indicated in Section 6.c., a significant

number of errors or violations, e.g., less than 5 percent in certain areas, could exist in a FFL’s records

and yet no adverse action against the FFL by ATF would be required or appropriate.

        59. Under the ATF’s 2019 Adverse Action Policy, a determination of willfulness is not

required as a condition precedent to ATF issuing a Report of Violations, a Warning Letter or

requiring the FFL to attend a Warning Conference.

        60. ATF statistics reflect the collaborative approach referenced in its May 2014 Fact Sheet

as well as reflected in the policies contained in the Industry Operations Manuals and the ATF’s

Adverse Action Policies that they were issued up through 2019. In 2020, the latest year published

on its website, ATF successfully sought revocation 40 times out of 5,823 inspections (.686%). ATF



                                                   13

  Case 3:23-cv-00544          Document 1         Filed 05/26/23       Page 13 of 58 PageID #: 13
also reported that 96 FFLs discontinued operations or surrendered their licenses. In 2020, only 56%

percent of the 5,823 inspections resulted in “no violation” reports. The rest (2,546) contained some

sort of violation. The far more common response to violations of the GCA were a “Report of

violations” (1,289 instances), a “Warning letter” (804), or a “Warning conference” (306). See,

https://www.atf.gov/firearms/firearms-compliance-inspection-results (last visited May 24, 2023)

       61. In 2021, the ATF sought revocation in only 27 out 6,639 inspections (.406%). ATF

reported that 789 FFLs discontinued operations as a result of compliance inspections. ATF also

reported that it issued 985 instances for “Report[s] of violations”, 454 instances of “Warning

letter[s]”, and 149 instances of “Warning conference[s]” as a result of compliance inspections. See

https://web.archive.org/web/20220822160407/https://www.atf.gov/resource-center/fact-sheet/fac

t-sheet-facts-and-figures-fiscal-year-2021 (last visited May 24, 2023)



President Biden Announces “Zero Tolerance” Policy.

       62. On June 23, 2021, President Biden’s office announced a new “zero tolerance” policy that

he was instituting and through which he was directing ATF to increase the number of FFL

revocations nationally. In relevant part, that announcement stated:

       Establishing zero tolerance for rogue gun dealers that willfully violate the law.
       Gun dealers across the country are regulated by federal law that is enforced by the
       Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF). Dealers that fail to
       comply with their obligations under the law create risks for all of us. Today, the
       Justice Department is announcing a new policy to underscore zero tolerance for
       willful violations of the law by federally licensed firearms dealers that put public
       safety at risk. Absent extraordinary circumstances that would need to be justified to
       the Director, ATF will seek to revoke the licenses of dealers the first time that they
       violate federal law by willfully 1) transferring a firearm to a prohibited person, 2)
       failing to run a required background check, 3) falsifying records, such as a firearms
       transaction form, 4) failing to respond to an ATF tracing request, or 5) refusing to
       permit ATF to conduct an inspection in violation of the law.


                                                14

  Case 3:23-cv-00544        Document 1        Filed 05/26/23      Page 14 of 58 PageID #: 14
https://www.whitehouse.gov/briefing-room/statements-releases/2021/06/23/fact-sheet-biden-harr
is-administration-announces-comprehensive-strategy-to-prevent-and-respond-to-gun-crime-and-e
nsure-public-safety/ (emphasis in original) (last visited May 24, 2023)

          63. The changes in enforcement policy announced by President Biden implemented a strict

liability enforcement policy that presumptively required revocation based on the category of the

violation rather than on whether the FFL intentionally or willfully the violated the FFL’s lawful

duties.

          64. The changes announced by President Biden in June 2021 were not enacted by Congress

nor have they been subsequently ratified by Congress.

          65. On July 14, 2021, the ATF issued a memorandum announcing the “Implementation of

the Administration’s Comprehensive Strategy to Prevent and Respond to Gun Crime and Ensure

Public Safety.” Exhibit 9.

          66. In the July 14, 2021, ATF memorandum the ATF stated that certain FFL violations

“[a]bsent extraordinary circumstances ... shall result in a revocation recommendation.”

          67. The ATF’s July 14, 2021 memorandum evidenced an enhanced enforcement policy of

presumptive revocation based on the category of the violation which would apply excepting only in

“extraordinary circumstances.”

          68. The ATF’s July 14, 2021 memorandum did not advise the public or FFLs what

circumstances the ATF would consider under its new enhanced enforcement policy to constitute

“extraordinary circumstances.”

          69. The announcement by ATF in the July 14, 2021, memorandum that certain violations

shall result in revocations was not a change that was enacted by Congress nor was it a change that

has been subsequently ratified by Congress.



                                                15

  Case 3:23-cv-00544          Document 1      Filed 05/26/23     Page 15 of 58 PageID #: 15
         70. In the July 14, 2021, ATF memorandum the ATF stated that it would be “amending ATF

O 5370.1D, the Federal Firearms Administrative Action Policy and Procedures to incorporate these

requirements.”

         71. ATF released an amendment to ATF O 5370.1D in a document titled“ Federal Firearms

Administrative Action Policy and Procedures” dated January 28, 2022, and identified by ATF Order

ATF O 5370.1E (hereinafter the “2022 Adverse Action Policy”). Exhibit 10.2

         72. The ATF’s 2022 Adverse Action Policy, on information and belief, remains its most

current Adverse Action Policy relative to FFLs.

         73. ATF did not generally release the 2022 Adverse Action Policy to the public or to FFLs

during the time that it was or during the time that it remains in force. As a consequence of the ATF’s

attempted concealment, the standards on which ATF evaluates FFL’s during compliance inspections

and how ATF determines what adverse action it would take against FFLs who had violations,

including whether to revoke a FFL’s license, are standards that are concealed by ATF and which are

not communicated by ATF to the public or to FFLs.

         74. To the extent that the ATF’s 2022 Adverse Action Policy creates standards, policies or

definitions that expand the basis for FFL adverse actions, including revocations, beyond what

Congress provided for in 18 U.S.C. § 923, those changes have not been enacted or ratified by

Congress.

         75. To the extent that the ATF’s 2022 Adverse Action Policy creates standards, policies or



         2
            This ATF document can be obtained in the public record as part of a Fox News report on February 10, 2023,
titled “Internal ATF docs show ‘zero tolerance’ guidelines for shutting down gun stores”

https://www.foxnews.com/politics/internal-atf-docs-show-zero-tolerance-guidelines-shutting-down-gun-stores      (last
visited May 24, 2023)

                                                         16

  Case 3:23-cv-00544             Document 1           Filed 05/26/23         Page 16 of 58 PageID #: 16
definitions that expand the basis for FFL adverse actions, including revocations, beyond what

Congress provided for in 18 U.S.C. § 923, those changes are ultra vires and outside the scope of

authority of an administrative agency.

       76. The ATF’s 2022 Adverse Action Policy was issued, at least in part, to implement

President Biden’s “zero tolerance” policy that his office announced in June 2021.

       77. The ATF’s 2022 Adverse Action Policy contained written policies and procedures

regarding when to take adverse action against a FFL as a result of a compliance inspection and what

the range of adverse actions could be.

       78. The stated purpose of the ATF’s 2022 Adverse Action Policy is “[t]his order provides

fair and consistent guidelines for administrative remedies for violations disclosed relative to

inspections of Federal firearm licensees(FFLs).”

       79. The ATF’s 2022 Adverse Action Policy states in Section 5.c. that its authority to revoke

a FFL is based on 18 U.S.C. § 923(e). ATF’s description of that authority as set forth in the 2022

Adverse Action Policy states:

       Pursuant to 18 U S.C. 923(e), ATF may only revoke a Federal firearms license for
       willful violations of the GCA and its implementing regulations, including all of the
       violations discussed in this order and any other violations of the GCA. The term
       willful means a purposeful disregard of, a plain indifference to, or reckless disregard
       of a known legal obligation. ATF may also revoke or suspend a license or impose
       a civil fine for certain violations of the Brady Handgun Violence Act and the Child
       Safety Lock Act of 2005. See 18 U.S.C. §§ 922(t)(5) and 924(p).

       80. The ATF’s 2022 Adverse Action Policy states that each circumstance is unique and

mitigating factors may be considered. Section 7.a.3. of the policy states:

       (3) Each inspection has unique and sometimes complex circumstances. Therefore,
       even in cases where violations appear willful, the field should consider the following
       questions when recommending administrative action:
               (a) Is the FFL willing/able to achieve and maintain voluntary


                                                 17

  Case 3:23-cv-00544        Document 1        Filed 05/26/23       Page 17 of 58 PageID #: 17
               compliance?
               (b) Will the continued operation of the FFL pose a threat to public
               safety or contribute to violent crime and/or other criminal activities?
               (c) Is the FFL taking responsibility for violations and willing to work
               with ATF to correct them?
               (d) Is the FFL’s failure to properly complete and maintain records
               directly impacting the traceability of firearms?
               (e) Do the violations have a nexus to a person subject to the Federal
               firearms disabilities contained in either 18 U.S.C. §§ 922(g) or 922(n)
               (hereinafter “prohibited person”)?

       81. As stated in the 2022 Adverse Action Policy, the ATF has established as part of its

adverse action policies one or more subjective factors to be considered in evaluating willfulness.

       82. As stated in the 2022 Adverse Action Policy, the ATF has established as part of its

adverse action policies one or more subjective factors to be considered in evaluating whether the

ATF will pursue a revocation of an FFL.

       83. The ATF’s 2022 Adverse Action Policy states in Section 7.a.4. that it has a “zero

tolerance policy for willful violations” that fall into certain specific categories. Under this policy,

“revocation is the presumed action, unless extraordinary circumstances exist....”

       84. The changes in enforcement policy announced by ATF in July 2021 and later detailed

in the ATF’s 2022 Adverse Action Policy implemented a strict liability enforcement policy that

presumptively required revocation based on the category of the violation rather than on whether the

FFL willfully committed the violation.

       85. The changes in enforcement policy announced by ATF in July 2021 and later detailed

in the ATF’s 2022 Adverse Action Policy implemented a strict liability enforcement policy that was

not enacted or adopted by Congress through the passage of legislation.

       86. The ATF’s 2022 Adverse Action Policy states in Section 7.a.4. several categories of

violations that had in the past not been subject to any “zero tolerance” presumptive revocation or that


                                                  18

  Case 3:23-cv-00544         Document 1        Filed 05/26/23       Page 18 of 58 PageID #: 18
even called for revocation.

        87. The ATF’s 2022 Adverse Action Policy states that ATF officials may consider, when

considering whether to issue a warning letter, the nature and number of violations, improvements

in business operations, improvements in record keeping, etc., since the last inspection. The policy

also states that a warning letter does not require a finding of willfulness with respect to the cause of

the violations. The policy states in Section 7.c.:

        c. Warning Letter. The field may issue a Warning Letter (WL) when violations of
        27 C.F.R. Part 478 merit documented action on the part of ATF beyond the Report
        of Violations. The AS may decide that a WL is not necessary based on the nature and
        number of violations, improvement in compliance with firearms laws and regula-
        tions, FFL’s compliance history, time elapsed since the previous inspection, and
        other relevant factors may be considered. Sending a WL to a FFL does not require
        a determination of willfulness. Violations that generally merit a WL as the minimum
        administrative action include—but are not limited to—the following:
                ***

        88. The ATF’s 2022 Adverse Action Policy with respect to the “minimum” numbers and

types of violations that may warrant a warning letter makes clear that ATF considers certain

categories of errors below certain threshold percentages to be violations that likely do not warrant

even a warning letter. For example, the policy provides in Section 7.c. specific threshold percentages

for the quantity of errors in acquisition records to be “5 percent or more of the licensees total

acquisitions during inspection period.” Similar thresholds that would likely not warrant imposition

of adverse actions also are stated for other categories of errors, such as:

        (1) Failure to timely and/or correctly maintain records of receipt, manufacture,
        importation or other acquisition on 5 percent or more of the FFL’s total acquisitions
        during the inspection period, with a minimum of 10 instances.
        (2) Failure to timely and/or correctly maintain records of sales or other dispositions
        on 5 percent or more of the FFL’s total dispositions during the inspection period,
        with a minimum of 10 instances.
        (3) Failure by the licensee to obtain complete and accurate information for any
        item(s) on Forms 4473, question 21, or failure to ensure the buyer signs and date the


                                                  19

  Case 3:23-cv-00544          Document 1        Filed 05/26/23      Page 19 of 58 PageID #: 19
        Form 4473 (to include failing to have the buyer recertify their answer is the transfer
        takes place on a different date than the original signature) on 5 percent or more of the
        Forms 4473 examined except when any purchaser is prohibited.
        (4) Failure to record valid and complete transferee identification on 10 percent or
        more of the Forms 4473 examined.
        (5) Failure to record any transferee identification on 10 percent or more of the Forms
        4473 examined.
        ***

        89. Under the ATF’s 2022 Adverse Action Policy, as indicated in Section 7.c., a significant

number of errors or violations, e.g., less than 5 percent in certain areas, could exist in a FFL’s records

and yet no adverse action against the FFL by ATF would be required or appropriate.

        90. The ATF’s 2022 Adverse Action Policy states in Section 7.e.4. that there are a number

of ways to “establish the knowledge element of willfulness” including many factors which are devoid

of any violation at all. The examples listed by the ATF in the 2022 Adverse Action Policy include

“ (b) using inspection reports to establish willfulness even if the inspection found no violations...”

(emphasis added),     “(d) ... [showing] publications and information provided to the FFL which

explain the FFL’s legal responsibilities”, “(e) demonstrat[ing] that the FFL has complied with the

specific regulation on other occasions”, and even “(f) demonstrat[ing] that the FFL has substantial

experience as an FFL.”

        91. The ATF’s 2022 Adverse Action Policy states in Section 7.e.6. that “revocation is an

appropriate licensing action ... in response to the discovery” of certain listed violations. That section

states that the “fact that there is only a single violation of subsections (a)-(e) below does not, in and

of itself, constitute extraordinary circumstances and will not be an acceptable reason for an

alternative recommendation.”

        92. The ATF’s 2022 Adverse Action Policy states in Section 7.e.6. that “revocation is also

an appropriate licensing action” upon a finding that “(m) the FFL has been the subject of a WC in


                                                   20

  Case 3:23-cv-00544          Document 1         Filed 05/26/23       Page 20 of 58 PageID #: 20
lieu of Revocation within the previous 5 years and the current inspection reveals repeated similar

violation(s) with no significant improvement.” (emphasis added)

       93. Based on the ATF’s own policy statements in its 2022 Adverse Action Policy, evidence

of improvement even with respect to repeat violations should mitigate against a finding of

willfulness.

       94. In order to determine if a FFL has shown a “significant improvement” from one

compliance inspection to another, it is relevant and necessary to consider the detailed records

documented by the ATF in its files concerning a particular FFL including records relating to the

current and prior inspections.

       95. Generally, ATF maintains detailed records of information gathered during a compliance

inspection which information is not reported back to the FFL nor is it contained on the ATF’s

“Report of Violations” to the FFL. The information is not typically detailed in any notice of

revocation.

       96. These detailed ATF records, including but not limited to compliance inspection records,

over the prior approximate decade or more, have been obtained, compiled and maintained by the

ATF manually in the past and, more recently, in computerized record keeping systems known as “N-

Spect” and later an updated computerized system known as “Spartan” which are referenced and

generally described in the 2019 Industry Operations Manual (see chapters B, C, G and H).

       97. Relevant information to determine whether there have been repeat violations, the nature

of any prior violations, prior relevant warnings and whether there have been any improvement in an

FFL’s compliance history or efforts is often found and is only available in the records maintained

by ATF as part of its FFL and/or compliance inspection documentation. On information and belief,



                                               21

  Case 3:23-cv-00544        Document 1       Filed 05/26/23       Page 21 of 58 PageID #: 21
these records would include information such as:

               97.1. Date range for records and inventories covered by a specific compliance

inspection;

               97.2. Date range pertaining to the period of an onsite compliance inspection stating

the start date of a compliance inspection, the number of days ATF officials were onsite at the FFL’s

place of business, the number of hours that the ATF officials spent performing the compliance

inspection and the end date of a compliance inspection.

               97.3.   Records detailing the inventory amounts for the dates covered by the

compliance inspection.

               97.4. Records detailing the number of instances where the IOI found there were

“open dispositions” in the inventory records, duplicate (or repeat) entries in the inventory records,

and any noted errors attributable to the FFL’s software based inventory system if used.

               97.5. Records detailing the number of firearms acquired by the FFL during the

compliance inspection period.

               97.6. Records detailing the number of firearms sold or transferred by the FFL during

the compliance inspection period.

               97.7. Records detailing the number of ATF Form 4473's for the compliance

inspection period, the number of ATF Form 4473 that were individually reviewed by the IOI(s), and

the specific errors/violations documented by the IOI(s) with respect to each such Form 4473.

               97.8. Records concerning any sales or transfers of firearms for which an ATF Form

4473 could not be located.

               97.9. Records concerning any “multiple sale reports” in the possession of the FFL,



                                                 22

  Case 3:23-cv-00544         Document 1       Filed 05/26/23      Page 22 of 58 PageID #: 22
the number of multiple sale reports alleged to be missing or erroneous, the multiple sale reports

obtained by the IOI(s) from the ATF’s tracing center, and reports identifying any discrepancies

between the FFL’s multiple sale report records and the ATF’s own tracing center records.

               97.10. Records concerning all TICS checks performed by the Tennessee Bureau of

Investigation relevant to the FFL and the compliance inspection.

               97.11. Records concerning any acts or omissions documented by the IOI or other

ATF officials relative to or indicating FFL willfulness, knowledge, inadvertence or human errors.

               97.12. Records concerning any communications by the IOI(s) or other ATF officials

with the FFL, its responsible parties or employees concerning the FFL’s license, the FFL’s business

operations, or the compliance inspection.

               97.13. Records concerning any communications by the IOI(s) or other ATF officials

with third parties (e.g., industry vendors, other FFLs, customers, etc.) concerning the FFL’s license,

the FFL’s business operations, or the compliance inspection.

               97.14.    Records of any circumstances that might constitute mitigating or

“extraordinary circumstances” as referenced in the ATF’s Adverse Action Policies.

       98. Records such as the examples listed in the immediately preceding paragraphs generally

are not in the possession of a FFL and are not generally disclosed by the ATF to a FFL as part of or

even following a compliance inspection.

       99. Records such as the examples listed in the immediately preceding paragraphs generally

are not in the possession of a FFL and are not generally disclosed by the ATF to a FFL as part of an

agency warning letter, warning conference or hearing.

       100. Generally, ATF’s compliance inspection records do not reflect the number or quantity



                                                 23

  Case 3:23-cv-00544         Document 1        Filed 05/26/23      Page 23 of 58 PageID #: 23
of errors made by the ATF (e.g., ATF tracing center failures to enter into its database multiple sale

reports for which the FFL has proof of transmission).

       101. ATF acknowledges that the information entered into “Spartan” is subject to FOIA

requests. See 2019 Industry Operation Manual, p. 42 (“All information entered into Spartan is

retained in the history, even upon deletion. This information could be discoverable or released in a

FOIA request.”)

       102. In order for a FFL who is subject to a revocation proceeding to be able to demonstrate

relevant improvement in its compliance history and performance, the FFL would reasonably require

access to the full and unredacted records maintained by the ATF concerning the FFL, its licensee

status, and all of its prior application and compliance inspections.

       103. Tactical Edge does not have copies of the records identified in the preceding paragraphs

and subparts. Tactical Edge needs such records to present evidence in this federal review

demonstrating that it has achieved material and relevant improvement in compliance since the 2020

inspection and that such improvement is compelling evidence that any errors in the 2022 inspection

were not willful, as that term is used in 18 U.S.C. § 923(e), in part because of the material and

substantial improvements in compliance that is evidenced by a review of the reduction in the

categories and numbers of alleged violations identified by the ATF in the 2022 compliance

inspection when compared with prior inspections. See, Jim's Pawn Shop, Inc. v. Bowers, 2008 WL

11380078, at *8 (E.D.N.C., 2008) (“Rather than willfulness to commit violations, the court finds that

the evidence before the court shows, through a pattern of improvement during the years in which the

inspections took place, a conscious effort to comply with the GCA. Not only did Jim's of Fayetteville

and Jim's of Wilmington put guidelines and training in place, they also significantly reduced the



                                                 24

  Case 3:23-cv-00544         Document 1       Filed 05/26/23      Page 24 of 58 PageID #: 24
number of errors that were being made. This reduction in the number of errors, especially in light

of the volume of firearm transactions, coupled with the testimony by the owners and employees of

petitioners, as well as the testimony of some of the inspectors, of petitioners' desire to comply with

the GCA, convinces this court that the violations which occurred were not willful as that term has

been defined by the Fourth Circuit in Prino and RSM.”).



ATF’s Enhanced Enforcement Scheme - Rather than Congressional Action - Has Led to an
Increase in Agency Revocation Proceedings and Voluntary Discontinuance and Surrender of
Licenses.

       104. Based on its self-reporting, ATF stated that in July-December 2021 that 34 of the FFLs

inspected had “qualifying violations”, of which it revoked 5, ATF did not revoke 1 following a

hearing, that 24 FFLs “voluntarily ceased operations”. ATF decided not to revoke 4 due to

“extraordinary circumstances.”      Exhibit 11. As used in that report, a “qualifying violation”

included one or more of the following:

       - Refusal to allow an IOI to conduct an inspection
       - Transferring a firearm to a prohibited person
       - Failing to conduct a required background check
       - Falsifying records
       - Failing to respond to a trace request

       105. Based on its self-reporting, ATF stated that in 2022 that 252 of the FFLs that it

inspected had “qualifying violations”, of which ATF revoked 88. ATF did not revoke 83 following

a hearing. Sixty-nine (69) FFLs “voluntarily ceased operations.” ATF decided not to revoke 12 due

to “extraordinary circumstances.” Exhibit 11.

       106. ATF data of all compliance inspections in 2022, including those with “qualifying

violations”, shows that it inspected 6,979 FFLs, that it found no violations in 3,806 instances



                                                 25

  Case 3:23-cv-00544         Document 1        Filed 05/26/23      Page 25 of 58 PageID #: 25
(54.53%). ATF issued a report of violation in 1,247 instances (17.86%). There were 1,037 instances

where the licensee “discontinued” its business (14.858%). ATF it issued warning letters in 606

instances (8.68%), it conducted warning conferences in 131 instances (1.87%), that it issued

revocations in 90 instances (1.289%) and that 62 instances had “other disposition.” Exhibit 12.

        107. Following the adoption in 2021 of a “zero tolerance” policy, the volume of revocations

approximately doubled from 20203 to 2022.

        108. The number of FFLs who discontinued business following a compliance inspection

went from 96 in 2020, to 789 in 2021 (the year of the adoption of the zero tolerance policy) to 1,037

in 2022 which represents an increase by a factor of 10.8.

        109. ATF’s Enhanced Enforcement Policy is not warranted under the statutory language as

intended by Congress and has resulted in demands by numerous ranking Congressional officials for

ATF to abide by Congressional intent regarding its enforcement powers and to explain reports that

there is a 500% increase in the ATF’s revocation efforts in the first year of ATF’s implementation

of that enhanced policy. Exhibit 13.4

        110. Similarly, Congressman Mark Green from Tennessee has also made demands on the

ATF regarding its Enhanced Enforcement Policy in a letter dated October 5, 2022. Exhibit 14. In



        3
            For 2020 statistics, see https://www.atf.gov/firearms/firearms-compliance-inspection-results (last visited May
24, 2023)
        4
            Congressman Biggs writes in this letter (footnotes omitted):

        “The DOJ's efforts to force its administration's agenda onto ATF are particularly disturbing. Local
        ATF field agents have shared they feel pressured to take actions against individual businesses that they
        do not feel are appropriate or in the interest of public safety. Some have even reported that ATF field
        divisions are being pitted against each other and being forced to compete on the number of licenses
        revoked. ATF Directors of Industry Operations, who oversee revocation proceedings, are being told
        to press forward with this escalating quota system or face professional repercussions. This
        commandeering of agency discretion to support the administration's agenda undermines ATF's ability
        to function as a specialized agency....”

                                                            26

  Case 3:23-cv-00544                Document 1           Filed 05/26/23          Page 26 of 58 PageID #: 26
that letter, Congressman Green states:

       In essence, it now appears that the Congressional requirement of a “willful violation”
       has been twisted into “negligence” or even mere human errors – a major distinction
       that ignores the plain language and intent of the law that Congress has enacted and
       that the ATF is bound to follow. Congress had no intent to authorize the ATF to
       strangle the chain of distribution through which citizens are generally expected to
       purchase firearms.
       ***
       18 U.S.C. 923(e) provides that the Attorney General may revoke a license if the
       license holder has willfully violated any provision of Chapter 44. Revocations may
       be granted only for willful violations, not unintentional errors or technical mistakes....
       ***
       In light of the clear purpose and meaning of the law, the ATF must respect the
       limitations that Congress has imposed on this process. The ATF needs to work with
       licensees to improve compliance practices instead of weaponizing the revocation
       authority. The laws are intended to ensure that the government can prosecute
       unscrupulous gun dealers who intentionally and willfully sell firearms to those who
       are not allowed to have them and refuse to cooperate with investigations of crimes,
       while protecting those FFLs who may inadvertently make minor paperwork errors but
       are fairly seeking to comply with federal firearm laws as enacted by Congress. It is
       not a matter left to the discretion of administrators or even the President – it is the
       clear statutory prescription of Congress.

       111. Although Congressman Green requested a reply from the ATF to the issues raised in

his letter, the ATF has ignored that request.



ATF Issued a Federal Firearms License to Tactical Edge.

       112. ATF has issued two separate federal firearms licenses to Tactical Edge.

       113. As of 2022, Tactical Edge had a license, 1-62-125-07-4B-08127 (hereinafter “License

1-62-08127"), which was issued for the business location at 1925 Fort Campbell Boulevard, Unit

C, Clarksville, Tennessee 37042. This licensed location was for the “retail” business activities.

       114. ATF performed an application inspection prior to the issuance of the initial FFL to

Tactical Edge under License 1-62-08127.



                                                  27

  Case 3:23-cv-00544         Document 1         Filed 05/26/23       Page 27 of 58 PageID #: 27
       115. As part of the application inspection in 2015, one or more ATF IOIs met with and

interviewed Tactical Edge. That meeting was relatively brief. It did include some general

instruction on the operation of a FFL but it not cover in detail all of the obligations of an FFL nor

the categories of acts or omissions that might result in the ATF taking adverse action against a FFL

such as warning letters, warning conferences, fines, suspensions or license revocations.

       116. ATF performed compliance inspections on Tactical Edge for License 1-62-08127 in

2018, 2020 and 2022.



ATF’s 2018 Compliance Inspection for License 1-62-08127.

       117. The ATF’s compliance inspection in 2018 on License 1-62-08127 involved one or more

IOIs and involved ATF officials being onsite at the Tactical Edge premise for the period of June 25,

2018 to July 26, 2018.

       118. During calendar year 2018, Tactical Edge’s records indicate it acquired 1137 firearms

and transferred 1098 firearms out of its inventory.

       119. During 2018, Tactical Edge acquired 1137 firearms and its transferred 1098 firearms.

       120. With respect to the 2018 compliance inspection, the ATF identified various instances

which it asserted constituted record keeping errors by Tactical Edge on License 1-62-08127. These

instances are documented by ATF in a “Report of Violations” dated August 23, 2018. Exhibit 15.

       121. In the August 23, 2018, Report of Violations on License 1-62-08127 ATF identified

the following instances of alleged violations:

               121.1. 20 instances where recorded acquisitions of firearms were not accurately

entered in the FFL’s acquisition records.



                                                   28

  Case 3:23-cv-00544         Document 1          Filed 05/26/23   Page 28 of 58 PageID #: 28
               121.2. 4 instances where the ATF could not locate acquisition record entries for

firearms that were in inventory.

               121.3. 9 ATF Form 4473 “firearms transaction record” where ATF alleged that there

was one or more errors or omissions with respect to questions “11a, 16, 29, and/or 33".

               121.4. 27 ATF Form 4473 “firearms transaction record” where ATF alleged that

there was one or more errors or omissions with respect to questions “1, 2, 7, 12a, 12b, 12c, 12d.1,

and/or 15".

               121.5. 4 ATF Form 4473 “firearms transaction record” where ATF alleged that the

address of the transferee/purchaser that was on the form did not match the address on the transferee’s

driver’s license.

               121.6. 9 ATF Form 4473 “firearms transaction record” where ATF alleged that there

were errors or omissions with respect to recording the background check (“TICS”) information on

the form.

               121.7. 3 ATF Form 4473 “firearms transaction record” where ATF alleged that the

information identifying the firearm(s) being transferred had inaccurate manufacturer information

because someone wrote “Tactical Edge Arms” rather than “The Tactical Edge LLC”

               121.8. 1 ATF Form 4473 “firearms transaction record” where ATF alleged that the

serial number entered of ACKR116 should have been entered as ACKR115.

               121.9. 6 ATF Form 4473 “firearms transaction record” where ATF alleged that the

FFL made errors in either signing question 35 (the transferor FFL’s signature) or in entering the

correct date of the transfer in question 37.

               121.10. 2 ATF Form 4473 “firearms transaction record” where ATF alleged it could



                                                 29

  Case 3:23-cv-00544         Document 1        Filed 05/26/23      Page 29 of 58 PageID #: 29
not locate in the FFL’s records the Form 4473.

                 121.11. 1 instance where ATF claimed that on June 26, 2018, the FFL transferred

a “Glock frame” without having completing a Form 4473.

                 121.12. 1 instance, being the same as referenced in the preceding paragraph, where

ATF claimed that on June 26, 2018, the FFL transferred a “Glock frame” without performing a TICS

background check.

                 121.13. 3 instances where the FFL sold a AR15 lower receiver to an individual under

the age of 21.

       122. As a result of the 2018 compliance inspection, ATF sent a letter to Tactical Edge in

which it stated that “any future violations, either repeat or otherwise, could be viewed as willful and

may result in revocation of [its] license.” Exhibit 16. That statement is misleading because federal

law in 18 U.S.C. § 923(e) limits the authority of the Attorney General/ATF to only instances where

the ATF shows that there are willful violations by the FFL:

       Attorney General may, after notice and opportunity for hearing, revoke any license
       issued under this section if the holder of such license has willfully violated any
       provision of this chapter or any rule or regulation prescribed by the Attorney General
       under this chapter or fails to have secure gun storage or safety devices available at
       any place in which firearms are sold under the license to persons who are not
       licensees ....

(emphasis added)

       123. As a result of the 2018 compliance inspection on License 1-62-08127, Tactical Edge

corrected all alleged errors related to its records as requested by the ATF even if Tactical Edge

disagreed with the ATF’s factual allegations. Tactical Edge made changes and corrections in an

effort to cooperate with ATF and to ensure, as much as possible, that it was maintaining complete

and accurate records. Tactical Edge was also attempting to fully cooperate with the instructions


                                                  30

  Case 3:23-cv-00544          Document 1       Filed 05/26/23       Page 30 of 58 PageID #: 30
being provided by ATF.

       124. In an effort to achieve compliance and to address the alleged errors identified in the

2018 compliance inspection, Tactical Edge

               124.1. terminated its manager at the retail store and terminated several employees;

               124.2. it hired a new manager and implemented new training and retraining for all

employees;

               124.3. it restructured its entire records filing systems per the suggestions of the

ATF’s IOI; and

               124.4. it attended several ATF compliance seminars.

       125. The changes in Tactical Edge’s policies and procedures following the ATF’s first

compliance inspection in 2018 resulted in reduced errors as the new hires, revised record keeping

systems and new policies were being implemented.



ATF’s 2020 Compliance Inspection on License 1-62-08127.

       126. The ATF performed its second compliance inspection on Tactical Edge regarding

License 1-62-08127 in 2020.

       127. The ATF’s compliance inspection in 2020 involved one or more IOIs and involved ATF

officials being onsite for the period of January 28, 2020 to February 26, 2020.

       128. During calendar year 2020, Tactical Edge’s records indicate it acquired 1903 firearms

and transferred 1860 firearms out of its inventory. These volumes were substantial increases over

the volumes existing in 2018.

       129. As of the date of the 2020 inspection Tactical Edge was still implementing new



                                                31

  Case 3:23-cv-00544        Document 1       Filed 05/26/23      Page 31 of 58 PageID #: 31
training, procedures and processes.

       130. With respect to the 2020 compliance inspection, the ATF identified various instances

which it asserted constituted record keeping errors by Tactical Edge. These included:

               130.1. 1 ATF Form 4473 “firearms transaction record” where ATF alleged that the

FFL had failed to properly store the record in alphabetical, numerical or chronological order.

               130.2. 1 ATF Form 4473 “firearms transaction record” where ATF alleged that the

FFL had failed to properly store the record because the retained record was a photocopy that did not

include ATF’s several pages of printed instructions which pages contained no data fields that were

unique to the transfer.

               130.3. 1 instance where ATF alleged that the FFL had improperly sold and delivered

a handgun to an out of state resident.

               130.4. 2 ATF Form 4473 “firearms transaction record” where ATF alleged that the

FFL had failed to retain copies of the form.

               130.5. 3 ATF Form 4473 “firearms transaction record” where ATF alleged that the

FFL had failed to complete a required TICS background check.

               130.6. 7 ATF Form 4473 “firearms transaction record” where ATF alleged that the

FFL had failed to report the multiple sales of a handgun by the close of the business day.

               130.7. 17 instances where ATF alleged that the FFL’s disposition records were not

timely or accurately recorded all of which errors were corrected during the course of the inspection.

               130.8. 5 instances where ATF alleged there were errors in the acquisition or

disposition records, two of which errors were alleged duplicate entries.

               130.9. 1 instance where ATF alleged a disposition was not entered into the



                                                 32

  Case 3:23-cv-00544         Document 1        Filed 05/26/23     Page 32 of 58 PageID #: 32
disposition records timely or correctly.

                130.10. 24 ATF Form 4473 “firearms transaction record” where ATF alleged that

a) the transferee/buyer did not fully complete Section A of the form, or b) that the transferee/buyer

did not resign and/or redate the form in instances where the transfer took place a different day than

when the form was initially signed and date and/or c) that the FFL had failed to retain complete

copies of the Form.

                130.11. 19 ATF Form 4473 “firearms transaction record” where ATF alleged that

there were either errors or omissions in boxes 16, 29, or 33 of the form.

                130.12. 9 ATF Form 4473 “firearms transaction record” where ATF alleged that box

18a of the form was either blank or incomplete.

                130.13. 15 ATF Form 4473 “firearms transaction record” where ATF alleged that

boxes 19a, 19b or 19c of the form were either blank or incorrect.

                130.14. 1 ATF Form 4473 “firearms transaction record” where ATF alleged that box

27 was incorrect.

                130.15. 4 ATF Form 4473 “firearms transaction record” where ATF alleged that box

37 was blank.

       131. As a result of the 2020 compliance inspection on License 1-62-08127, ATF sent a letter

to Tactical Edge in which it stated that “any future violations, either repeat or otherwise, could be

viewed as willful and may result in revocation of [its] license.” Exhibit 17. That statement is

misleading because federal law in 18 U.S.C. § 923(e) limits the authority of the Attorney

General/ATF to only instances where the ATF shows that there are willful violations by the FFL:

       Attorney General may, after notice and opportunity for hearing, revoke any license
       issued under this section if the holder of such license has willfully violated any

                                                 33

  Case 3:23-cv-00544         Document 1       Filed 05/26/23      Page 33 of 58 PageID #: 33
       provision of this chapter or any rule or regulation prescribed by the Attorney
       General under this chapter or fails to have secure gun storage or safety devices
       available at any place in which firearms are sold under the license to persons who are
       not licensees ....

(emphasis added)

       132. As a result of the 2020 compliance inspection, Tactical Edge corrected all alleged errors

to its records as requested by the ATF even if Tactical Edge disagreed with the ATF’s factual

allegations. Tactical Edge made the changes and corrections in an effort to cooperate with ATF and

to ensure, as much as possible, that it was maintaining complete and accurate records.

       133. As a result of the 2020 compliance inspection, Tactical Edge continued to implement

and make changes in its policies, procedures and operations that were specifically intended to reduce

and eliminate any errors in its operations.

       134. As a result of the 2020 compliance inspection, Tactical Edge made additional

significant changes to its managers, staff, policies and procedures. These included:

               134.1. Firing all employees related to the 2020 compliance inspection including the

general manager. It undertook a complete rehiring and retraining for all employees.

               134.2. It invested over twenty-five thousand dollars ($25,000.00) into an all-new

electric point of sale system and an electronic acquisition and disposition (“A&D”) record keeping

system. This was a major investment of time and expense because it moved Tactical Edge from

paper books and was intended to address and resolve all acquisition and disposition errors that were

alleged as a result of the 2018 and 2020 compliance inspections.

               134.3. It hired and incurred the expense to relocated Jordan Fisher, who was formerly

an ATF IOI and who was working for Cabelas, a major national firearms retailer chain, in Colorado.

It hired her to work in order to create new standard operating procedures and to train new hires in


                                                 34

  Case 3:23-cv-00544         Document 1       Filed 05/26/23       Page 34 of 58 PageID #: 34
Tactical Edges’ record keeping and 4473 audit structure.

       135. As a result of the 2020 compliance inspection, Tactical Edge advised the ATF at a post-

inspection conference that it would implement additional corrective actions and it did so. Those

corrective actions included “1) Implemented a different filing system - ensuring all ATF Forms 4473

are filed in chronological order by disposition instead of by book, page, line number (numerical

order/chronological by acquisition date), 2) All Forms are reviewed by two (2) people before

customer leaves the store with the firearm, 3) Daily closing procedures were implemented: with

nightly gun count and secondary review of all ATF Form 4473's, entry of all acquisitions and

dispositions within the A&D record, and the filing of records by a manager on duty. 4) Every

Saturday all ATF Form 4473s are reviewed by a responsible person, [and] 5) A serial number

count/verification is conducted every 30 days.” See, Exhibit 17.

       136. Several of the changes references in the foregoing paragraph are in excess of what a

FFL is required to do under the GCA and the regulations.

       137. Tactical Edge voluntarily proposed and implemented these policy and procedure

changes, including those not required by the GCA or the ATF’s regulations, in a continuing effort

to achieve compliance with its legal duties and to attempt to catch and minimize or eliminate areas

for human errors.



ATF’s 2022 Compliance Inspection on License 1-62-08127.

       138. ATF performed a third compliance inspection on Tactical Edge for License 1-62-08127

in 2022.

       139. During calendar year 2022, Tactical Edge’s records indicate it acquired 2214 firearms



                                                35

  Case 3:23-cv-00544        Document 1       Filed 05/26/23        Page 35 of 58 PageID #: 35
and transferred 2170 firearms out of its inventory. These volumes were material increases over the

volumes existing in 2018 and 2020.

          140. With respect to the 2022 compliance inspection, the ATF identified various instances

which it asserted constituted record keeping errors by Tactical Edge. These included:

                 140.1. 1 instance where ATF alleged that the FFL had conducted a TICS check, that

30 days had expired from the date of the check but that the FFL transferred the firearm to the

individual after the 30 day period without performing a second TICS check.

                 140.2. 6 instances where ATF alleged that there were errors or omissions on an ATF

Form 4473.

                 140.3. 2 instances where ATF alleged that the FFL failed to accurately record TICS

information in Section B of the ATF Form 4473.

                 140.4. 1 instance where the ATF alleged that the transferee/buyer had failed to sign

and date the ATF Form 4473.

          141. The ATF’s compliance inspection in 2022 demonstrated that Tactical Edge under

License 1-62-08127 had achieved a substantial reduction in both the number and categories of

alleged violations when compared to its prior compliance inspections.

          142. The ATF’s compliance inspection in 2022 demonstrated that Tactical Edge on License

1-62-08127 had a substantial improvement in its compliance with its obligations as a FFL.

          143. The ATF’s compliance inspection in 2022 on License 1-62-08127 did not demonstrate

any alleged violation which ATF asserted was an intentional violation by Tactical Edge of its legal

duties.




                                                  36

  Case 3:23-cv-00544          Document 1       Filed 05/26/23      Page 36 of 58 PageID #: 36
ATF Issued a Second License to Tactical Edge at second location.

       144. Under ATF’s regulations, each location where an entity conducts business requires a

separate license to be issued.

       145. ATF issued to Tactical Edge license number 1-62-125-07-3K-09828 (hereinafter

“License 1-62-09828") for its manufacturing facility which is located at 219 Industrial Drive, Unit

B, Clarksville, Tennessee 37040.

       146. Under the GCA and ATF’s regulations, the operations of License 1-62-09828 were

required to be maintained under an entirely separate set of books, records and transaction histories.

       147. In the agency hearing that is the subject of this civil action, ATF did not introduce any

exhibit reflecting a “Notice of Hearing” for License 1-62-09828.

       148. In the agency hearing, ATF did not introduce any exhibit reflecting a “Confirmation

of Hearing” for License 1-62-09828.

       149. In the agency hearing, the ATF did not introduce any exhibit reflecting a “Notice of

Violation” pertaining to any compliance inspection for License 1-62-09828.

       150. In the agency hearing, the ATF did not introduce any exhibit reflecting any violation

alleged to have been committed with respect to License 1-62-09828.

       151. In the agency hearing, the ATF did not introduce any testimony of any violations with

respect to License 1-62-09828.

       152. In the agency hearing, ATF did not produce any initial Notice of Revocation for License

1-62-09828.



ATF’s Revocation of Tactical Edge’s License 1-62-08127.



                                                 37

  Case 3:23-cv-00544         Document 1       Filed 05/26/23       Page 37 of 58 PageID #: 37
       153. ATF issued a Notice of Revocation dated June 30, 2022, addressed to Tactical Edge

in which ATF gave written notice that it intended to revoke Tactical Edge’s FFL License 1-62-

08127, the retail license. Exhibit 18.

       154. The ATF official who issued the notice concerning License 1-62-08127 was Steven

Kolb, in his capacity as the Director of Industry Operations.

       155. In the Notice of Revocation, ATF relied on only 4 specific charges regarding License

1-62-08127. Those 4 charges were:

               155.1. That on one (1) occasion the FFL transferred a firearm without first contacting

NICS/TICS to perform a background check after the initial 30 day transfer period for a prior TICS

check had expired.

               155.2. That on two (2) occasions the FFL transferred a firearm without recording the

date that the FFL contacted TICS, the response from TICS, and/or the TICS transaction number on

the Form 4473, specifically that box 27c was blank on the form.

               155.3. That on one (1) occasion the FFL failed to sign and/or date the Form 4473,

specifically that box 36 on the form was blank.

               155.4. That on six (6) occasions the FFL failed to “obtain/execute” Form 4473 as

indicted in the form’s instructions that 3 boxes (21a, 23, or 6) were incorrect, blank or that the FFL

otherwise did not follow instructions on the form.

       156. Tactical Edge timely requested a hearing pursuant to 18 U.S.C. § 923(f).

       157. On January 24, 2023, the ATF conducted a hearing at which the ATF was represented

by Division Counsel Jennifer Crim. ATF was also represented by Director of Industry Operations,

Steven Kolb, in his capacity as the hearing officer. Tactical Edge was not represented by an attorney



                                                  38

  Case 3:23-cv-00544         Document 1        Filed 05/26/23      Page 38 of 58 PageID #: 38
but was only represented by three individuals who were involved in the operations of the FFL.

        158. ATF called Grant Allen to testify for ATF at the hearing. No other ATF officials

testified at the hearing.

        159. The hearing started at 8:45 a.m and was concluded by 11:00 a.m.

        160. Whenever questioned during the hearing by ATF counsel regarding the factual basis

for willfulness with respect to any of the alleged violations, the only testimony that Grant Allen gave

was that the violations on License 1-62-08127, the retail location, were “repeat violations”.

        161. There was no testimony in the hearing by Grant Allen or other witnesses to establish

that there were any violations of any kind with respect to License 1-62-09828, the manufacturing

location.

        162. Whenever Grant Allen was questioned during the hearing by ATF counsel regarding

the alleged violations he did not testify that Tactical Edge, under either license, had a) knowingly

violated the law, b) that it had intentionally violated the law, c) that the alleged violations were the

result of a reckless disregard for the law, and/or d) that the alleged violations were the result of a

plain indifference to the law.

        163. Whenever questioned during the hearing by ATF counsel regarding the alleged

violations, none of the witnesses for Tactical Edge testified that Tactical Edge had a) knowingly

violated the law, b) that it had intentionally violated the law, c) that the alleged violations were the

result of a reckless disregard for the law, and/or d) that the alleged violations were the result of a

plain indifference to the law.

        164. There was no testimony at the hearing by the ATF witness or otherwise regarding

whether Tactical Edge was attempting to comply with its legal duties as an FFL other than the



                                                  39

  Case 3:23-cv-00544          Document 1        Filed 05/26/23      Page 39 of 58 PageID #: 39
assertions by Grant Allen that the alleged violations were repeat violations.

       165. There was no testimony at the hearing by the ATF witness or otherwise regarding

whether Tactical Edge’s compliance efforts between its 2020 and 2022 compliance inspections

showed any reduction in either the number or categories of violations.

       166. There was no testimony at the hearing by the ATF witness or otherwise regarding

whether Tactical Edge’s compliance efforts between its 2020 and 2022 compliance inspections

showed any increase in either the number or categories of violations.

       167. There was no testimony at the hearing by the ATF witness or otherwise regarding

whether Tactical Edge was “willing/able to achieve and maintain voluntary compliance.” See 2022

Adverse Action Policy, Section 7.a.(3)(a).

       168. There was no testimony at the hearing by the ATF witness or otherwise regarding

whether “the continued operation of the FFL [would] pose a threat to public safety or contribute to

violent crime and/or other criminal activities.” See 2022 Adverse Action Policy, Section 7.a.(3)(b).

       169. There was no testimony at the hearing by the ATF witness or otherwise regarding

whether “the FFL [was] taking responsibility for violations and willing to work with ATF to correct

them.” See 2022 Adverse Action Policy, Section 7.a.(3)(c).

       170. There was no testimony at the hearing by the ATF witness or otherwise regarding

whether “the FFL’s failure to properly complete and maintain records [was] directly impacting the

traceability of firearms.” See 2022 Adverse Action Policy, Section 7.a.(3)(d).

       171. There was no testimony at the hearing by the ATF witness or otherwise regarding

whether “the violations have a nexus to a person subject to the Federal firearms disabilities contained

in either 18 U.S.C. §§ 922(g) or 922(n).” See 2022 Adverse Action Policy, Section 7.a.(3)(e).



                                                  40

  Case 3:23-cv-00544         Document 1        Filed 05/26/23       Page 40 of 58 PageID #: 40
       172. There was no testimony at the hearing from any witness as to whether the alleged

violations were willful.

       173. There was no testimony at the hearing from any ATF witness who actually made the

determination that any of the alleged violations were willful.

       174. When asked in the hearing in a series of questions to testify on issues like intent or

severity of errors, Grant Allen testified that it was not his job to determined why errors occurred or

the importance of a violation. He testified “I just, basically how it works for me is I just show up

with the evidence, what I found. And then kind of the people above me are the ones that –”

       175. Consistent with Grant Allen’s testimony, the determination of whether there should be

a revocation is initially made by ATF’s Spartan software system rather than by an individual

according to the 2019 Industry Operations Manual. The 2019 Industry Operations Manual states on

page 66:

       Final Recommendation
              (1) Inspection Findings
                      (a) The IOI should select all applicable inspection findings
                      identified during the inspection.
                      (b) Based on the selections made by the IOI, Spartan will
                      identify the appropriate recommendation based on the
                      ATF O 5370.10, Federal Firearms Administrative Action
                      Policy. Accordingly, it is important the IOI accurately select
                      the appropriate inspection findings.

(emphasis added)

       176. At the conclusion of the hearing, the hearing officer, Steven Kolb, took the matter under

advisement.

       177. On March 29, 2023, the ATF, acting again through Steven Kolb as the Director of

Industry Operations, issued a Final Notice of Revocation to Tactical Edge with respect to License



                                                 41

  Case 3:23-cv-00544         Document 1        Filed 05/26/23      Page 41 of 58 PageID #: 41
1-62-09828 (hereinafter “2023 Final Notice of Revocation”) . Exhibit 19. The attachments to the

Final Notice of Revocation identify both License 1-62-08127 and License 1-62-09828.

       178. None of the findings of fact in the 2023 Final Notice of Revocation state any violation

of any kind under License 1-62-09828.

       179. The first alleged violation addressed in the 2023 Final Notice of Revocation is the same

as Count 1 in the June 2022 Notice of Revocation. The charge is that on one (1) occasion the FFL

transferred a firearm to an unlicensed person without contacting TICS/NICS to do a background

check. However, the facts cited are that Tactical Edge did perform a background check that was

ultimately approved by TICS but that Tactical Edge transferred the firearm 38 days after the date that

the TICS check was originally initiated. ATF asserted that any transfer more than 30 days after the

initial TICS check required a second TICS check.

       180. In the 2023 Final Notice of Revocation, the ATF cites 27 C.F.R. § 478.102(c) as the

applicable rule for the 30 day limit on transfers.

       181. The statutory provisions of the GCA do not contain a 30 day limit on transfers

following the date of the initial background check.

       182. Neither the 2018 Report of Violations nor the 2020 Reports of Violations involved any

prior violations of 27 C.F.R. § 478.102(c) or, specifically, the requirement that a licensee perform

a second TICS check after the 30 day period.

       183. None of the warning letters from ATF to Tactical Edge make reference to 27 C.F.R.

§ 478.102(c) or to any prior violations of that specific code section.

       184. There was no testimony in the hearing that ATF had ever warned or even educated

Tactical Edge specifically about the 30 day window that is contained in 27 C.F.R. § 478.102(c).



                                                 42

  Case 3:23-cv-00544         Document 1        Filed 05/26/23      Page 42 of 58 PageID #: 42
        185. There was no testimony that Tactical Edge had ever violated 27 C.F.R. § 478.102(c)

in the past.

        186. There was no testimony that the alleged violation of 27 C.F.R. § 478.102(c) this was

a repeat violation.

        187. During the agency hearing, Grant Allen did testify that the transfer was made within

30 days of the date that TICS issued an approval of the transfer.

        188. There was no testimony that the transfer was to a prohibited person or otherwise a

violation of either the GCA or the ATF’s regulations.

        189. The second alleged violation in the 2023 Final Notice of Revocation states that on 2

occasions Tactical Edge failed to complete “Item 27c” on Form 4473 which is an alleged violation

of 27 C.F.R. § 478.124(c)(3)(iv).

        190. “Item 27c” on the May 2020 version of Form 4473 says “The response initially

provided by NICS or the appropriate state agency was:” and then the Item has listed check boxes for

“Proceed”, “Delayed”, “Denied”, and “Cancelled”.        While ATF alleged that this item was not

checked on 2 Form 4473s, that is a de minimis error since Tactical Edge processed more than a

thousand Forms 4473 processed by Tactical Edge during the inspection period. , Tactical Edge had

in fact stapled to each Form 4473 the printed response from TICS that showed that the response from

TICS was approved. Further, each Form 4473 showed in Item 27a the date that the TICS check was

performed and in Item 27b the “transaction number” provided by TICS. Exhibits 20 and 21.

        191. There was no testimony that either of these two (2) transfers was to a prohibited person

or otherwise a violation of either the GCA or the ATF’s regulations.

        192. The 2023 Final Notice of Revocation concluded that the violations referenced in the



                                                 43

  Case 3:23-cv-00544         Document 1       Filed 05/26/23        Page 43 of 58 PageID #: 43
second alleged violation, for failing to complete “Item 27c” on Form 4473 which is an alleged

violation of 27 C.F.R. § 478.124(c)(3)(iv), was willful because it was a repeat violation.

       193. The 2023 Final Notice of Revocation in addressing the second alleged violation for

failing to complete “Item 27c” on Form 4473 contains no statement as to whether these 2 isolated

violations reflected an improvement by Tactical Edge for compliance with respect to this issue.

       194. The 2023 Final Notice of Revocation fails to address whether Tactical Edges’ changes

in policy, procedure, practices, new hires, new training, or new software since 2018 or 2020 indicate

that Tactical Edge was making good faith efforts to improve its compliance. See Jim's Pawn Shop,

Inc. v. Bowers, 2008 WL 11380078, at *8 (E.D.N.C., 2008).

       195. The ATF’s 2022 Adverse Action Policy states that each circumstance is unique and

mitigating factors may be considered and that examples of mitigating factors are listed in Section

7.a.3.5 However, there is no indication anywhere in the 2023 Final Notice of Revocation that the

ATF considered any mitigating factors set forth in its adverse action policy with respect to the second

alleged violation.


       5
           The 2022 Adverse Action Policy identifies these examples:

       (3) Each inspection has unique and sometimes complex circumstances. Therefore,
       even in cases where violations appear willful, the field should consider the following
       questions when recommending administrative action:
               (a) Is the FFL willing/able to achieve and maintain voluntary
               compliance?
               (b) Will the continued operation of the FFL pose a threat to public
               safety or contribute to violent crime and/or other criminal activities?
               (c) Is the FFL taking responsibility for violations and willing to work
               with ATF to correct them?
               (d) Is the FFL’s failure to properly complete and maintain records
               directly impacting the traceability of firearms?
               (e) Do the violations have a nexus to a person subject to the Federal
               firearms disabilities contained in either 18 U.S.C. §§ 922(g) or 922(n)
               (hereinafter “prohibited person”)?

                                                  44

  Case 3:23-cv-00544         Document 1        Filed 05/26/23       Page 44 of 58 PageID #: 44
       196. The third alleged violation in the 2023 Final Notice of Revocation states that on 1

occasion Tactical Edge failed to complete “Item 36” on Form 4473 which is an alleged violation of

27 C.F.R. § 478.124(c)(5). Exhibit 22.

       197. This alleged violation constituted one (1) error as to this Item 36 out of more than a

thousand Form 4473s that were completed during the period that was being inspected.

       198. “Item 36" on Form 4473 regarding this alleged violation is a box where the FFL is

supposed to enter the date of the transfer. Related to this item, Item 34 is where the FFL prints the

name of the individual who has handling the sale for the FFL and Item 35 is where that individual

signs the form. Both of those items were completed accurately and ATF did not charge any

violations on Items 34 or 35. Id.

       199. Other than being an isolated violation out of more than a thousand Form 4473s that

were completed during the inspection period, there is no evidence that this violation was anything

other than a de minimis human error.

       200. There was no testimony that this transaction was to a prohibited person or otherwise

a violation of either the GCA or the ATF’s regulations.

       201. The 2023 Final Notice of Revocation concluded that the violation referenced in the

third alleged violation, for failing to complete “Item 36” on Form 4473 was willful because it was

a repeat violation.

       202. The 2023 Final Notice of Revocation in addressing the third alleged violation for failing

to complete “Item 36” on Form 4473 contains no statement as to whether this single violation

reflected an improvement by Tactical Edge for compliance with respect to this issue.

       203. The 2023 Final Notice of Revocation fails to address whether the changes Tactical



                                                 45

  Case 3:23-cv-00544         Document 1       Filed 05/26/23      Page 45 of 58 PageID #: 45
Edge’s policy, procedure, practices, new hires, new training, or new software since 2018 or 2020

indicate that Tactical Edge was making good faith efforts to improve its compliance. See Jim's

Pawn Shop, Inc. v. Bowers, 2008 WL 11380078, at *8 (E.D.N.C., 2008).

          204. The ATF’s 2022 Adverse Action Policy states that each circumstance is unique and

mitigating factors may be considered and that examples of mitigating factors are listed in Section

7.a.3.6

          205. There is no indication anywhere in the 2023 Final Notice of Revocation that the ATF

considered any mitigating factors with respect to the third alleged violation.

          206. Other than being an isolated violation out of more than a thousand Form 4473s that

were completed during the inspection period, there is no evidence that this violation was anything

other than a mere human error as the FFL’s representative testified in the agency hearing.

          207. The fourth alleged violation in the 2023 Final Notice of Revocation alleges 6 violations

of which 5 occasions asserted that Tactical Edge failed to make sure that the buyer accurately

completed the Form 4473 which is an alleged violation of 27 C.F.R. § 478.21(a).

          208. On two of the instances relative to the alleged fourth violation, the alleged error pertains

to Item 21a which asks whether the buyer is the “actual buyer” (which includes gifts). Exhibits 23

and 24. In each instance, the transferee/buyer appears to have marked the column for “no.”

          209. The instructions for Items 21a are confusing to many because on one part of the form

it says that “you are not the actual buyer transferee/buyer if you are acquiring the firearm(s) for

another person” but then several pages later in the instructions to the Form 4473 under the paragraph

of instructions for Question 21a it says “A person is also the actual transferee/buyer if he/she is



          6
              Id.

                                                     46

  Case 3:23-cv-00544            Document 1        Filed 05/26/23       Page 46 of 58 PageID #: 46
legitimately purchasing the firearm as a bona fide gift for a third party.” See Exhibit 25.

       210. On three of the instances relative to the alleged fourth violation, the alleged error

pertains to Item 23 which is where the transferee/buyer is supposed to write the date that he/she

completed the Form 4473 initially. Exhibits 26, 27 and 28. In each instance, the transferee/buyer

appears to have been confused because they completed Item 23 by writing in their date of birth

(which also appears in Item 15) rather than the date that they completed the form.

       211. The final instance in the fourth alleged violation asserts that “Item 6" was blank. On

this version of Form 4473, Items 1-5 are where the FFL is supposed to list the manufacturer, model,

serial number, type and caliber of each firearm being transferred. Item 6 says “Total Number of

Firearms to be Transferred (Please spell total number, e.g., one, two, etc. Do not use numerals.)”

Exhibit 29.

       212. In this instance, the FFL completed the form in Items 1-5 to identify a single firearm.

Although Item 6 is blank, the form is self-evident that only one firearm was being transferred.

       213. There was no testimony that these transactions was to a prohibited person or otherwise

a violation of either the GCA or the ATF’s regulations.

       214. The 2023 Final Notice of Revocation concluded that the violations referenced in the

fourth alleged violation were willful because they were repeat violations.

       215. The 2023 Final Notice of Revocation in addressing the fourth alleged violation contains

no statement as to whether these alleged violations reflected an improvement by Tactical Edge for

compliance with respect to this issue. Nor do the ATF’s findings address whether the changes in

policy, procedure, practices, new hires, new training, or new software since 2018 or 2020 indicate

that Tactical Edge was making good faith efforts to improve its compliance. See Jim's Pawn Shop,



                                                 47

  Case 3:23-cv-00544         Document 1       Filed 05/26/23      Page 47 of 58 PageID #: 47
Inc. v. Bowers, 2008 WL 11380078, at *8 (E.D.N.C., 2008).

          216. The ATF’s 2022 Adverse Action Policy states that each circumstance is unique and

mitigating factors may be considered and that examples of mitigating factors are listed in Section

7.a.3.7

          217. There is no indication anywhere in the 2023 Final Notice of Revocation that the ATF

considered any mitigating factors with respect to the third alleged violation.

          218. There was no evidence in the agency hearing that the alleged fourth category of

violations were anything other than a mere human error.

          219. Title 18, U.S.C. § 923(f)(3) provides that the Unites States District Court for the district

of the principle place of business of the petitioner shall have jurisdiction to hear complaints for a de

novo judicial review of the Attorney General's findings regarding the revocation of a firearms

license.

          220. This complaint is filed within sixty (60) days of the receipt by Tactical Edge of said

Final Notice. See, 18 U.S.C. § 923(f)(3).

          221. The substantial improvements from 2018 to 2020 and particularly from 2020 to 2022

compliance inspections demonstrate that Tactical Edge had not in any respect engaged in any

conduct that constituted a willful violation of the Gun Control Act or any lawfully adopted

regulations by the ATF. As such, the ATF was not authorized to revoke either or both of the licenses

held by Tactical Edge.

          222. The small number of alleged errors, none of which implicated transfers to prohibited

persons, are evidence of nothing more than occasional and rare human errors and demonstrate that



          7
              Id.

                                                     48

  Case 3:23-cv-00544            Document 1        Filed 05/26/23       Page 48 of 58 PageID #: 48
Tactical Edge had not in any respect engaged in any conduct that constituted a willful violation of

the Gun Control Act or any lawfully adopted regulations by the ATF. As such, the ATF was not

authorized to revoke either or both of the licenses held by Tactical Edge.

        223. The small number of alleged errors, none of which demonstrated evidence of a knowing

attempt by Tactical Edge to violate its legal duties, evidence nothing more than occasional and rare

human errors and demonstrate that Tactical Edge had not in any respect engaged in any conduct that

constituted a willful violation of the Gun Control Act or any lawfully adopted regulations by the

ATF. As such, the ATF was not authorized to revoke either or both of the licenses held by Tactical

Edge.

        224. The findings and conclusions of the Attorney General with respect to Tactical Edge as

set forth in the 2023 Final Notice of Revocation are erroneous and are not supported by the evidence.

        225. The 2023 Final Notice of Revocation is arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law and/or unwarranted by the facts to the extent that the facts

are subject to trial de novo by a reviewing court.



                                COUNT 1
              ATF WAS NOT AUTHORIZED TO REVOKE THE LICENSES

        226. Congress, through enactment of the Gun Control Act, authorized the ATF to revoke a

federal firearms license only in situations where it is clear that the holder of the license “willfully

violated” the Gun Control Act or any regulations adopted by the Attorney General “under this

chapter.” 18 U.S.C. § 923(e).

        227. Congress has not by enactment of any provision or amendment under the Gun Control

Act provided that human errors, inadvertent mistakes, oversights, or even repeat violations constitute


                                                  49

  Case 3:23-cv-00544         Document 1        Filed 05/26/23       Page 49 of 58 PageID #: 49
willfulness under the Gun Control Act.

        228. ATF has not promulgated any rule or regulation “under” the Gun Control Act which

expands or otherwise includes within the definition of “willfully violated”, as that term was used by

Congress in 18 U.S.C. § 923(e), human errors, inadvertent mistakes, oversights, or even repeat

violations.

        229. It was not the intent of Congress in adding in 1986 the requirement that the ATF prove

that a licensee “willfully violated” its legal duties to include within the scope of that term instances

where errors by licensees were the result of human errors, inadvertent mistakes, oversights, or even

repeat violations.

        230. The evidence presented in the agency hearing did not establish any intentional or willful

violations of the GCA or the rules or regulations lawfully adopted thereunder.

        231. The evidence presented in the agency hearing established that the licensee has made

material, costly and significant improvements since the 2018 and 2020 compliance inspections with

respect to its ability to achieve and maintain compliance with its legal obligations.

        232. The evidence presented in the agency hearing lacked any evidence tending to show that

Tactical Edge was either unwilling or unable to achieve and maintain voluntary compliance.

        233. The evidence presented in the agency hearing lacked any evidence tending to show that

the continued operation of Tactical Edge under either or both licenses would pose a threat to public

safety or contribute to violent crime and/or other criminal activities.

        234. The evidence presented in the agency hearing lacked any evidence tending to show that

Tactical Edge was not willing to take responsibility for any violations, even de minimis human errors

and mistake.



                                                  50

  Case 3:23-cv-00544          Document 1        Filed 05/26/23      Page 50 of 58 PageID #: 50
       235. The evidence presented in the agency hearing lacked any evidence tending to show that

Tactical Edge was not willing to work with ATF to correct any mistakes or to improve its policies,

procedures or compliance efforts.

       236. The evidence presented in the agency hearing lacked any evidence tending to show that

Tactical Edge had not made material efforts to improve its policies, procedures and records in an

effort to achieve as much compliance as possible.

       237. The evidence presented in the agency hearing lacked any evidence tending to show that

Tactical Edge’s alleged failure to properly complete and maintain records as alleged in the 2023

Notice of Final Revocation had any direct impact on the traceability of firearms or that there had ever

been any instance relative to the 2022 compliance inspection where ATF had submitted a trace

request that Tactical Edge was unable to timely answer.

       238. The evidence presented in the agency hearing lacked any evidence tending to show that

the alleged violations by Tactical Edge with respect to the 2022 compliance inspection had any nexus

to a person subject to federal firearms disabilities contained in either 18 U.S.C. §§ 922(g) or 922(n).

       239. In the absence of clear and convincing evidence presented by the ATF that Tactical

Edge had “willfully violated” the Gun Control Act with respect to any alleged violation related to

the 2022 compliance inspection, ATF was not authorized to revoke either or both of its licenses.



                                 COUNT 2
              CONTRAVENTION OF ATF’S POLICIES AND PROCEDURES

       240. ATF has announced and follows written policies that governs the inspection and

circumstances warranting adverse action, specifically license revocation, of a FFL.

       241. These policies are contained in the ATF’s Industry Operations Manual of October 2019


                                                  51

  Case 3:23-cv-00544         Document 1        Filed 05/26/23       Page 51 of 58 PageID #: 51
(or any successor that was in effect at the time of the 2022 compliance inspection) and/or in the

ATF’s 2022 Adverse Action Policy (or any successor that was in effect at the time of the 2022

compliance inspection).

       242. ATF departed from its policies and procedures in revoking any and all FFLs held by

Tactical Edge.

       243. ATF’s departure of its policies and procedures with respect to compliance inspections

and revocations is arbitrary and capricious with respect to those policies.

       244. ATF’s departure from its policies and procedures calls for the revocation to be

overturned under INS v. Yang, 519 U.S. 26, 32 (1995).

       245. ATF’s policies and procedures, including but not limited to its Enhanced Enforcement

Policy as announced in 2021, are inconsistent with the Gun Control Act and thus unconstitutional,

to the extent that they seek to include human errors, paperwork errors, and other inadvertent

violations as a basis for establishing a “willful violation”.



                                 COUNT 3
             THE SECOND AMENDMENT RESTRICTS ATF’S DISCRETION
               AND INFORMS THE STANDARD OF JUDICIAL REVIEW

       246. Tactical Edge has a right to manufacture, buy and sell firearms. That right exists

independent of and prior to the adoption of the United States Constitution. That right is both

recognized and protected by the Second Amendment’s “shall not be infringed” mandate.

       247. The owners and responsible parties under the Tactical Edge license have a right to

manufacture, buy and sell firearms. That right exists independent of and prior to the adoption of the

United States Constitution. That right is both recognized and protected by the Second Amendment’s



                                                  52

  Case 3:23-cv-00544         Document 1        Filed 05/26/23     Page 52 of 58 PageID #: 52
“shall not be infringed” mandate.

        248. As a vendor, Tactical Edge, is able to bring claims on behalf of its customers. Craig

v. Boren, 429 U.S. 190, 195 (1976).

        249. If Tactical Edge’s licenses, or either of them, are revoked under an unlawful

enforcement policy that violates the United States Constitution, it will not only infringe on the rights

of Tactical Edge, its owners and responsible parties but such will also burden the Second

Amendment rights of its customers.

        250. The Second Amendment to the United States Constitution was ratified in 1791.

        251. The Second Amendment states “[a] well regulated Militia, being necessary to the

security of a free State, the right of the people to keep and bear Arms, shall not be infringed.”

        252. The plain text of the Second Amendment covers the manufacture, purchase and sale

of firearms and ammunition.

        253. The rights protected under the Second Amendment include the right to engage in the

commerce and/or business of being a gun dealer, gun manufacturer and/or operating a gun range.

See, e.g., Ezell v. City of Chicago, 651 F.3d 684 (7th Cir. 2011).

        254. There is a hindrance to an individual gun owners’ ability to protect their own interests

because they rely on licensees, such as Tactical Edge, in order to purchase firearms.

        255. Reducing the availability of lawful gun ownership burdens citizens’ rights under the

Second Amendment including the individual right of self-defense. See, New York State Rifle &

Pistol Association v. Bruen, 142 S.Ct. 2111, 2133 (2022).

        256. “[W]hen the Second Amendment's plain text covers an individual's conduct, the

Constitution presumptively protects that conduct. To justify its regulation, the government may not



                                                  53

  Case 3:23-cv-00544          Document 1        Filed 05/26/23       Page 53 of 58 PageID #: 53
simply posit that the regulation promotes an important interest. Rather, the government must

demonstrate that the regulation is consistent with this Nation's historical tradition of firearm

regulation.” See, New York State Rifle & Pistol Association v. Bruen, 142 S.Ct. 2111, 2126 (2022).

       257. Under Bruen, the question of what the Nation’s historical tradition of firearms

regulation included is generally limited to the historical precedent at the time of the Second

Amendment’s adoption. Bruen, 142 S.Ct. at 2136 (“ “Constitutional rights are enshrined with the

scope they were understood to have when the people adopted them.” The Second Amendment was

adopted in 1791; the Fourteenth in 1868. Historical evidence that long predates either date may not

illuminate the scope of the right if linguistic or legal conventions changed in the intervening years.”)

       258. As of 1791, there was no national historical tradition of government regulation or even

licensing of firearms manufacturers, wholesalers, or dealers.

       259. As of 1791, there was no national historical tradition of government regulation of the

commercial sales of firearms.

       260. As of 1868,8 there was no national historical tradition of government regulation or even

licensing of firearms manufacturers, wholesalers, or dealers.

       261. Bruen declared unconstitutional under the 2nd and 14th Amendments a New York State

handgun permit licensing scheme which vested subjective authority in government officials to

approve or deny an application for a handgun permit.

       262. The Bruen holding, applied to the federal firearms licensing scheme in 18 U.S.C. §

923(e) and assuming arguendo that the GCA is constitutional post-Bruen, requires that the

determination of whether a licensee has willfully violated the law to be objectively assessed based



       8
           Although Bruen references 1868, it does so only because it is the date of ratification of the 14th Amendment.

                                                          54

  Case 3:23-cv-00544              Document 1           Filed 05/26/23          Page 54 of 58 PageID #: 54
on the statutory criteria set forth in 18 U.S.C. § 923(e).

       263. The Bruen holding, applied to the federal firearms licensing scheme in 18 U.S.C. §

923(e), prohibits the ATF from having any authority to revoke a licensee based on any subjective

criteria or factors external to those enumerated in 18 U.S.C. § 923(e).

       264. ATF’s policies and its interpretation of the scope of the phrase “willfully violated” as

contained in 18 U.S.C. § 923(e) makes it harder for citizens to obtain firearms, train with them, and

maintain them for lawful purposes, including self-defense.

       265. Such a burden is not justified by findings of occasional human errors, inadvertent

mistakes, paperwork errors, or even a de minimis number of occasional repeat errors.

       266. Such a burden is not consistent with the nation’s historical tradition of firearm

regulation as it existed as of 1791.

       267. The Bruen holding, applied to the federal firearms licensing scheme in 18 U.S.C. §

923(f)(3), requires that a court, when conducting a de novo review of the ATF’s revocation of a

federal firearms license, independently and without deference to the ATF’s findings determine the

facts and the law and to determine whether the objective criteria in 18 U.S.C. § 923(e) have been

met. If so, Bruen’s rejection of governmental subjective assessments in licensing under the Second

Amendment would require a finding that the ATF was not “authorized” to revoke Tactical Edge’s

federal firearms licenses.

       268. Based on the Supreme Court’s holding in Bruen, the ATF is not authorized to revoke

a federal firearms license under the policies and procedures set forth in its 2019 Industry Operations

Manual, its 2022 Adverse Action Policy and/or for any errors that are mere human errors, de minimis

paperwork errors, and/or other inadvertent violations of the GCA.



                                                  55

  Case 3:23-cv-00544         Document 1        Filed 05/26/23      Page 55 of 58 PageID #: 55
       269. Based on the Supreme Court’s holding in Bruen ,which has established the requirement

that the government prove that any government infringement, including but not limited to the

revocation of a federal firearms license under circumstances such as are shown in this action, was

part of the nation’s historical tradition of firearms regulation as of 1791, the ATF is not authorized

to revoke a federal firearms license.

       270. Based on the Supreme Court’s holding in Bruen which has established the requirement

that the government prove that any government infringement, the burden is on the government to

prove that firearms licensing schemes for manufacturers and dealers was part of the nation’s

historical tradition of firearms regulation as of 1791.

       271. Absent clear and convincing evidence by the ATF that firearms licensing schemes for

manufacturers and dealers was part of the nation’s historical tradition of firearms regulation as of

1791, the ATF is not authorized to prohibit or deny anyone the right to engage in commerce,

manufacturing, retail sales or other commercial activities that are or may be protected by the scope

of the Second Amendment.



                                    COUNT 4
                      CLAIM FOR STATUTORY ATTORNEY’S FEES

       272. The Gun Control Act provides in 18 U.S.C. § 924(d)(2)(B) for payment of the

prevailing party’s attorney fees resulting from ATF’s actions under the Gun Control Act when such

actions are found to be without foundation.

       273. The Equal Access to Justice Act was designed to remove financial obstacles and make

access to justice available and affordable for those who have claims against the United States

government. See, 28 U.S.C. 2412(d):


                                                 56

  Case 3:23-cv-00544         Document 1        Filed 05/26/23      Page 56 of 58 PageID #: 56
        (d) (1) (A) Except as otherwise specifically provided by statute, a court shall award
        to a prevailing party other than the United States fees and other expenses, in addition
        to any costs awarded pursuant to subsection (a), incurred by that party in any civil
        action (other than cases sounding in tort), including proceedings for judicial review
        of agency action, brought by or against the United States in any court having
        jurisdiction of that action, unless the court finds that the position of the United States
        was substantially justified or that special circumstances make an award unjust.

        274. Tactical Edge is a “party” within the scope of 28 U.S.C. 2412.



                                        COUNT 5
                              STAY OF ENFORCEMENT ACTION

        275. The Gun Control Act provides in 18 U.S.C. § 923(f)(3) that a licensee who has received

a notice of revocation and a final notice of revocation subsequent to an agency hearing, may file a

complaint for de novo review with a federal court. Tactical Edge has filed a timely complaint with

this Court.

        276. Tactical Edge seeks a stay of enforcement action by the ATF so that it can continue

operations under its licenses pending the final resolution of this complaint and any potential appearl

thereof. See, 18 U.S.C. § 923(f)(2) and Exhibit 19.



Wherefore, Tactical Edge prays that this Court grant this complaint and enter an order:

        1. Declaring that the Defendants were not authorized under any statute or law to revoke

either or both of its federal firearms licenses.

        2. Declaring that the Defendants have acted unconstitutionally, arbitrarily and capriciously

in the establishment of and/or application of standards for revocation of either or both of its federal

firearms licenses.

        3. Declaring the proper application of the Bruen Court’s standard of review to the


                                                     57

  Case 3:23-cv-00544          Document 1           Filed 05/26/23     Page 57 of 58 PageID #: 57
Defendants’ actions with respect to the revocation of either or both of its licenses.

        4. Declaring the proper application of the Bruen Court’s standard of review to the

Defendants’ policies and procedures relative to firearms licensure by the Defendants to those seeking

to engage in activities, including the manufacture and/or commercial sale of firearms.

        5. Declaring the proper application of the Bruen Court’s standard of review and the Second

Amendment to enjoin any enforcement of the license revocation provisions of the Gun Control Act

and/or any regulations constitutionally adopted by the ATF pursuant thereto absent a showing by the

ATF that such licensing or revocation schemes were part of the national historical tradition as of

1791.

        6. Granting a stay, if not otherwise issued by the Defendants, to enforcement of the proposed

revocation of either or both of its licenses pending the final resolution of this action.

        7. Awarding Tactical Edge its fees and expenses in these proceedings pursuant to applicable

federal law; and

        8. Awarding any additional or alternative relief, which this Court deems appropriate and just.

                                                       Respectfully submitted:

                                                       /s/ John I. Harris III
                                                       John I. Harris, III, # 012099

                                                       Schulman, LeRoy & Bennett, P.C.
                                                       3310 West End Avenue, Suite 460
                                                       Nashville, Tennessee 37203
                                                       (615) 244-6670
                                                       jharris@slblawfirm.com




                                                  58

  Case 3:23-cv-00544         Document 1        Filed 05/26/23       Page 58 of 58 PageID #: 58
